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                                UNITED STATES DISTRICT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA

       Plaintiff,

                                                      Case No: 06-20351
                                                      Honorable Denise Page Hood
v.

D-3    TANISHA SUMMERS,

      Defendant.
_______________________________________________________

                                              ORDER

       This matter is before the Court on Defendant Tanisha Summers Notice of Abatement

(Motion), filed on February 20, 2007. The Government filed a Response on February 22, 2007.

The Court finds that the facts and legal analysis presented by the Government are correct and

that this Court will not be significantly aided by oral argument. Accordingly, pursuant to E.D.

Mich. LR 7.1 (e)(2) and Jahn v. Equine Services, PSC, 233 F. 3d 382, 393 (6th Cir. 2000), it is

ORDERED that this matter will be resolved on the briefs submitted by the parties.1 Defendant

Tanisha Summers Notice of Abatement (Motion) is DENIED for the reasons set forth below.

       On August 23, 2006, Defendant Summers was charged in a second superseding

indictment with seven counts of aiding and assisting in the preparation and presentation of false

and fraudulent tax returns, in violation of 26 U.S.C. § 7206(2) and one count of conspiracy to

defraud the United States, in violation of 18 U.S.C. §371.

       On October 25, 2006, Defendant was appointed counsel, Judith Gracey, Esq., who


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           Since this matter is decided on the briefs, the hearing on March 14, 2007 is cancelled.
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subsequently moved to withdraw as Defendant’s attorney and Jeffrey Edison, Esq. was

appointed by this Court.

          Defendant Summers filed the instant matter without the aid, advice or approval of her

counsel, evidenced by the fact that Defense Counsel did not sign Defendant’s Notice of

Abatement. While it is true that Defendant has a constitutional right to conduct her own defense,

she does not have this right until she “clearly and unequivocally” informs this Court that she

“knowingly and intelligently” waives her right to counsel and wishes to represent herself. See

Fareta v. California, 422 U.S. 806, 835; 95 S. Ct. 2525; 45 L. Ed. 2d 562 (1975). At a prior

hearing, Defendant Summers asserted her right to represent herself but thereafter agreed to

representation by Mr. Edison. Until Defendant so informs this Court, she is not permitted to

proceed pro se when she has the assistance of counsel. The law of this Circuit is clear in this

regard.

          The right to defend pro se and the right to counsel have been aptly described as
          “two faces of the same coin,” in that waiver of one right constitutes a correlative
          assertion of the other. While it may be within the discretion of a District Court to
          permit both a criminal defendant and his attorney to conduct different phases of
          the defense in a criminal trial, for purposes of determining whether there has been
          a deprivation of constitutional rights a criminal defendant cannot logically waive
          or assert both rights.

United States v. Mosely, 810 F. 2d 93, 97 (6th Cir. 1987)(citing United States v. Conder, 423 F.

2d 904, 908 (6th Cir. 1970).

          Accordingly,

          IT IS ORDERED that Defendant’s Notice of Abatement (Motion) [Docket No. 74, filed

February 20, 2007] is DENIED WITHOUT PREJUDICE.

          IT IS FURTHER ORDERED that should Defendant desire a Faretta hearing, she will


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request one with the assistance of her court appointed counsel.

Dated: March 9, 2007                                 /s/ Denise Page Hood
                                                    DENISE PAGE HOOD
                                                    United States District Court Judge




      I hereby certify that a copy of the foregoing document was served upon counsel of record
on March 9, 2007, by electronic and/or ordinary mail.

                                             S/William F. Lewis
                                             Case Manager




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